           Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 1 of 21
    United States Courts
  Southern District of Texas
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                                                              4:24-mj-383
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 2 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 3 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 4 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 5 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 6 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 7 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 8 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 9 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 10 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 11 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 12 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 13 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 14 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 15 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 16 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 17 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 18 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 19 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 20 of 21
Case 4:24-mj-00383 Document 1 Filed on 08/29/24 in TXSD Page 21 of 21
